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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
            Plaintiff,                        )
                                              )
      vs.                                     )   Case No. 4:09CR00274 RWS (AGF)
                                              )
ARAM RAMIREZ-AYON,                            )
                                              )
            Defendant.                        )

                                         ORDER

       This matter came before the Court on May 19, 2009, for a hearing on Defendant’s

Motion to Reconsider the Defendant’s Age and to Dismiss the Indictment. [Doc. #46].

Pretrial matters were assigned to the undersigned United States Magistrate Judge pursuant

to 28 U.S.C. § 636(b). The government opposed Defendant’s motion, and filed electronic

copies of certain documents showing a date of birth of Defendant of September 10, 1989,

such that Defendant would be 19 years old. [Doc. #49]. Defendant was present, and

represented by his attorney, Edward K. Fehlig. The government was represented by

Assistant United States Attorney Dean R. Hoag.

       At the hearing, after being advised of his right to have an evidentiary hearing on

the motion to reconsider and to dismiss the indictment, and also of his speedy trial rights

under 18 U.S.C. § 5036, Defendant withdrew the motion previously filed on his behalf,

and knowingly and voluntarily waived his right to proceed on the motion to reconsider as

well as the motion to dismiss based on speedy trial grounds. Through counsel, Defendant

acknowledged that he is in fact nineteen (19) years old, and he knowingly and voluntarily
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waived his right to assert any speedy trial rights or other rights based on his prior

assertion that he was in fact a juvenile. Defendant also requested that the portion of the

Order previously entered by Judge Mummert that required that Defendant be housed as

though he were in fact a juvenile, pending the receipt of further documentation, be

vacated.

       Accordingly,

       IT IS HEREBY ORDERED that Defendant’s Motion to Reconsider the

Defendant’s Age and to Dismiss the Indictment be withdrawn. [Doc. #46].




                                               AUDREY G. FLEISSIG
                                               UNITED STATES MAGISTRATE JUDGE

Dated this 19th day of May, 2009.
